Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 1 of 10
Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 2 of 10
Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 3 of 10
                Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 4 of 10

                                                                   Invoice

RM B3,19/F TUNG LEE COMM BLDG 91-97                                Invoice No.: 202410081843666557024690176
JERVOIS ST SHEUNG WAN HONG KONG 999077                             Invoice Date: 2024/10/08

                                                                   Order No.: T1843666557024690176
Bill to: C Canha Cavaco Dias
                                                                   Order Date: 2024/10/08



                               Description                                Quantity     Unit Price    Amount

   Tenorshare UltData for iOS (Mac Version) - Lifetime/1-5 Devices Free
                                                                              1        USD79.95      USD79.95
                         Upgrade, Lifetime Use


                                                                          Subtotal                   USD79.95
                                                                          Discount:                  USD15.99
                                                                          Sales Tax:                  USD5.12


                                                                          Total Amount:             USD69.08
Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 5 of 10
Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 6 of 10
Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 7 of 10
                                                                                       Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 8 of 10
                                                                                                                                                           Casimiro Dias <casimirojosedias@gmail.com>



Recover deleted WhatsApp messages without backup
1 mensagem

Casimiro Dias <casimirojosedias@gmail.com>                                                                                                                                11 de outubro de 2024 às 14:28
Para: info@codialog.org

 Dear Madam/Sir,
 I would like to recover deleted WhatsApp messages from iPhone, which I don't have a backup.
 It is an IPhone 10 (XS) with 243 GB used from 256 GB
 Could you please let me know if you could help?
 Thank you very much
 Casimiro
                                                                                       Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 9 of 10
                                                                                                                                                           Casimiro Dias <casimirojosedias@gmail.com>



Recover deleted WhatsApp messages without backup
1 mensagem

Casimiro Dias <casimirojosedias@gmail.com>                                                                                                                                11 de outubro de 2024 às 14:19
Para: info@direlli.com

 Dear Madam/Sir,
 I would like to recover deleted WhatsApp messages from iPhone, which I don't have a backup.
 It is an IPhone 10 (XS) with 243 GB used from 256 GB
 Could you please let me know if you could help?
 Thank you very much
 Casimiro
                                                   Case 3:24-cv-04471-EMC Document 136-2 Filed 10/15/24 Page 10 of 10
                                                                                                                        Casimiro Dias <casimirojosedias@gmail.com>



Recover deleted WhatsApp messages without backup
1 mensagem

Casimiro Dias <casimirojosedias@gmail.com>                                                                                             11 de outubro de 2024 às 14:22
Para: mariam.ayvazyan@easydev.tech


 Dear Madam/Sir,
 I would like to recover deleted WhatsApp messages from iPhone, which I don't have a backup.
 It is an IPhone 10 (XS) with 243 GB used from 256 GB
 Could you please let me know if you could help?
 Thank you very much
 Casimiro
